                       UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN
                           MILWAUKEE DIVISION

MICHAEL WAITS,
individually and on behalf of
all others similarly situated,

              Plaintiff,                       CASE NO. 18-CV-771

      v.

U-LINE CORPORATION,

              Defendant.


                 COLLECTIVE AND CLASS ACTION COMPLAINT


                            PRELIMINARY STATEMENT

      1.      This is a collective and class action brought by Plaintiff Michael Waits,

individually and on behalf of the members of the proposed classes identified below.

Plaintiff and the putative class members are, or were, hourly employees of

Defendant U-Line Corporation (hereinafter “U-Line”) at times since May 21, 2015.

During that time, U-Line has had a common policy and practice of impermissibly

rounding the start and end times of its hourly employees’ work hours so as to deny

such employees for compensation for all hours worked. Additionally, at times since

May 21, 2015, U-Line has had a common practice of paying Plaintiff Waits and the

other hourly employees non-discretionary bonuses while failing to factor such

bonuses into the employees’ regular rates of pay for purposes of calculating overtime

wages when they worked in excess of forty hours in a given workweek.




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Furthermore, at times since May 21, 2015, U-Line has had a common practice or

policy of deducting wages from the final paychecks of employees for paid-time-off

used but not earned in a manner that has brought Plaintiff Waits and other

similarly-situated employees’ hourly rates below the mandated federal and

Wisconsin minimum wage in such pay periods. As a result of the foregoing, U-Line

has failed to pay Plaintiff Waits all minimum wages and overtime wages due under

the Fair Labor Standards Act of 1938 (“FLSA”) and Wisconsin law as well as all

agreed-upon wages as required by Wisconsin law.

      2.      Plaintiff Waits brings this action, individually and on behalf of other

similarly-situated current and former hourly employees, as a collective action

pursuant to the Fair Labor Standards Act of 1938, as amended, (“FLSA”) for the

purpose of obtaining relief under the FLSA for unpaid minimum wage and overtime

compensation, liquidated damages, costs, attorneys’ fees, and/or any such other

relief the Court may deem appropriate.

      3.      Plaintiff Waits also brings this action pursuant to FED. R. CIV. P. 23 for

purposes of obtaining relief under Wisconsin law for unpaid minimum wage and

overtime compensation, unpaid agreed-upon wages, civil penalties, costs, attorneys’

fees, declaratory and/or injunctive relief, and/or any such other relief the Court may

deem appropriate.




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                           JURISDICTION AND VENUE

      4.      This Court has original jurisdiction to hear this complaint and to

adjudicate the claims stated herein under 28 U.S.C. §1331, this action being

brought under the FLSA, 29 U.S.C. §201, et seq.

      5.      The Court has supplemental jurisdiction over the state law claims

pursuant to 28 U.S.C. §1367, as they are so related in this action within such

original jurisdiction that they form part of the same case or controversy under

Article III of the United States Constitution.

      6.      Venue is proper pursuant to 28 U.S.C. §1391(b) and (c) in the U.S.

District Court for the Eastern District of Wisconsin because a substantial part of

the events or omissions giving rise to the claim occurred within the district and

Defendant U-Line has substantial and systematic contacts in this district.

                                      PARTIES

      7.      Defendant U-Line is a Wisconsin Corporation with a principal place of

business located in Milwaukee, Wisconsin. U-Line’s registered agent for service of

process in the State of Wisconsin is C T Corporation System located in Madison,

Wisconsin.

      8.      Plaintiff Michael Waits is an adult resident of Milwaukee County in

the State of Wisconsin. Waits is a former, hourly employee of U-Line who worked

from on or around May 2016 to March 2018. Waits’ Notice of Consent to Join this

collective action pursuant to 29 U.S.C. § 216(b) is attached as Exhibit A of this

Complaint and is incorporated herein.




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      9.      Plaintiff Waits brings this action individually and on behalf of the

Collective Rounding Class as authorized under the FLSA, 29 U.S.C. § 216(b). The

Collective Rounding Class is defined as follows:

              All persons who are or have been employed by U-Line and
              who were paid on an hourly basis at any time since May
              21, 2015.

      10.     Plaintiff Waits brings this action individually and on behalf of the

Wisconsin Rounding Class pursuant to FED. R. CIV. P. 23. The Wisconsin Rounding

Class is defined as follows:

              All persons who are or have been employed by U-Line and
              who were paid on an hourly basis at any time since May
              21, 2016.

      11.     Plaintiff Waits brings this action individually and on behalf of the

Collective Bonus Class as authorized under the FLSA, 29 U.S.C. § 216(b). The

Collective Bonus Class is defined as follows:

              All persons who are or have been employed by U-Line as
              hourly employees and who have received non-
              discretionary bonuses at any time since May 21, 2015.

      12.     Plaintiff Waits brings this action individually and on behalf of the

Wisconsin Bonus Class pursuant to FED. R. CIV. P. 23. The Wisconsin Bonus Class is

defined as follows:

              All persons who are or have been employed by U-Line as
              hourly employees and who have received non-
              discretionary bonuses at any time since May 21, 2016.




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      13.    Plaintiff Waits brings this action individually and on behalf of the

Collective Deduction Class as authorized under the FLSA, 29 U.S.C. § 216(b). The

Collective Deduction Class is defined as follows:

             All persons who are or have been employed by U-Line as
             hourly employees and were terminated or resigned their
             respective employments at any time since May 21, 2015.

      14.    Plaintiff Waits brings this action individually and on behalf of the

Wisconsin Deduction Class pursuant to FED. R. CIV. P. 23. The Wisconsin

Deduction Class is defined as follows:

             All persons who are or have been employed by U-Line as
             hourly employees and were terminated or resigned their
             respective employments at any time since May 21, 2016.

      15.    The Collective Rounding Class, Collective Bonus Class, and Collective

Deduction Class shall be jointly referred to as the “Collective Classes” hereinafter.

      16.    The Wisconsin Rounding Class, Wisconsin Bonus Class, and Wisconsin

Deduction Class shall be jointly referred to as the “Wisconsin Classes” hereinafter.

                             GENERAL ALLEGATIONS

      17.    Since May 21, 2015, U-Line has designed, engineered, and assembled

premium modular ice making, refrigeration, and wine preservation products in

Milwaukee, Wisconsin.

      18.    Plaintiff Waits and the Collective Classes have been employed by U-

Line at times since May 21, 2015.

      19.    Plaintiff Waits and the Wisconsin Classes has been employed by U-

Line in the State of Wisconsin at times since May 21, 2016.




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      20.    At times since May 21, 2015, Plaintiff Waits and the Collective Classes

have been paid on an hourly basis during their employments at U-Line.

      21.    At times since May 21, 2016, Plaintiff Waits the Wisconsin Classes

have been paid on an hourly basis during their employments at U-Line.

      22.    Since May 21, 2015, U-Line has required Plaintiffs Waits, the

Collective Classes, and the Wisconsin Classes to track the start and end times of

their work on a daily basis through a timekeeping system implemented by U-Line.

      23.    At times since May 21, 2015, U-Line has implemented a common policy

of rounding the start and end times of Plaintiff Waits’, the Collective Rounding

Class’, and the Wisconsin Rounding Class’ daily work hours as recorded in the U-

Line’s timekeeping system.

      24.    Since May 21, 2015, U-Line has rounded the recorded start times of

Plaintiff Waits, the Collective Rounding Class, and the Wisconsin Rounding Class

in five minute increments so that the start of the compensatory workday rounded in

both the employee and U-Line’s favor provided that the respective employee’s

recorded start time preceded his or her scheduled shift start on any given day. (i.e.,

“Pre-Shift Rounding”).

      25.    As illustrative examples of U-Line’s Pre-Shift Rounding practice since

May 21, 2015, an employee that has punched in at 5:58 a.m. for a 6:00 a.m.

scheduled shift start would have his or her compensable work hours rounded to 6:00

a.m. for that workday. Similarly, an employee that has punched in at 5:56 a.m. for a




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6:00 a.m. scheduled shift start would have his or her compensable work hours

rounded to 5:55 a.m. for that workday.

      26.     In contrast to its Pre-Shift Rounding practice, U-Line has rounded

start punches of Plaintiff Waits, the Collective Rounding Class, and the Wisconsin

Rounding Class that occurred after the start of their respective scheduled, shift

start times in fifteen increments so that the start of the compensable workday only

rounded in U-Line’s favor since May 21, 2015 (i.e, “Late Punch Rounding”).

      27.     As an illustrative example of U-Line’s Late Punch Rounding practice,

an employee that punched in at 6:02 a.m. for a 6:00 a.m. scheduled shift start would

have his or her compensable work hours rounded to 6:15 a.m. for that workday.

      28.     Similarly to its Late Punch Rounding practice, U-Line has rounded

end of workday punches by Plaintiff Waits, the Collective Rounding Class, and the

Wisconsin Rounding Class that occurred after the end of the scheduled, shift end

time back to the scheduled, shift end time so that the end of the compensable

workday only rounded in U-Line’s favor since May 21, 2015 (i.e., “Post-Shift

Rounding”).

      29.     As an illustrative example of U-Line’s Post-Shift Rounding practice, an

employee that punched out at 4:35 p.m. with a scheduled end time of 4:30 p.m.

would have his or her compensable work hours rounded to 4:30 p.m. for that

workday.

      30.     Since May 21, 2015, Plaintiff Waits, the Collective Rounding Class,

and the Wisconsin Rounding Class have performed work during the periods of time




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that were rounded only in U-Line’s favor under U-Line’s Late Punch Rounding and

Post-Shift Rounding practices.

      31.    Since May 21, 2015, U-Line has regularly suffered or permitted

Plaintiff Waits, the Collective Classes, and the Wisconsin Classes to work in excess

of forty hours per workweek, including work hours that were rounded only in U-

Line’s favor under its Late-Punch Rounding and Post-Shift Rounding practices.

      32.    Since May 21, 2015, U-Line’s rounding practices as alleged herein have

functioned to deprive Plaintiff Waits, the Collective Rounding Class, and the

Wisconsin Rounding Class of compensation for all hours worked, including hours

over forty in a workweek, in violation of the FLSA and Wisconsin law.

      33.    At times since May 21, 2015, U-Line has paid Plaintiff Waits, the

Collective Bonus Class, and the Wisconsin Bonus Class certain non-discretionary

bonuses, including attendance bonuses, in addition to their hourly rates.

      34.    At times since May 21, 2015, U-Line has suffered or permitted Plaintiff

Waits, the Collective Bonus Class, and the Wisconsin Bonus Class to work in excess

of forty hours in workweeks during which they have, at least partially, earned non-

discretionary bonuses such as attendance bonuses.

      35.    At times since May 21, 2015, U-Line has had a common practice of

failing to include non-discretionary bonuses, including attending bonuses, in its

calculations of the regular rates of Plaintiff Waits, the Collective Bonus Class, and

the Wisconsin Bonus Class for the purposes of determining overtime compensation

owed to Plaintiff Waits, the Collective Bonus Class, and the Wisconsin Bonus Class.




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      36.    As a result of U-Line’s common practice of failing to include non-

discretionary bonuses in Plaintiff Waits’, the Collective Bonus Class’, and the

Wisconsin Bonus Class’ regular rates for purposes of computing overtime

compensation owed, U-Line has deprived Plaintiff Waits, the Collective Bonus

Class, and the Wisconsin Bonus Class of all overtime wages owed pursuant to the

FLSA and Wisconsin law at times since May 21, 2015.

      37.    At times since May 21, 2015, U-Line has had a common practice of

providing its Plaintiff Waits, the Collective Deduction Class, and the Wisconsin

Deduction Class with a bank of Paid Time Off (“PTO”) hours for use in a specified

and fixed time period.

      38.    While Plaintiff Waits, the Collective Deduction Class, and the

Wisconsin Deduction Class could use such PTO hours at any point in the specified

and fixed time period, U-Line required Plaintiff Waits, the Collective Deduction

Class, and the Wisconsin Deduction Class to earn the banked PTO hours provided

as they performed certain hours of work for U-Line within the specified and fixed

time period for which the PTO hours were provided at times since May 21, 2015.

      39.    As a result of U-Line’s practice of allowing PTO hours to be used before

they were earned, Plaintiff Waits, the Collective Deduction Class, and the

Wisconsin Deduction Class often used their bank of PTO hours prior to earning

them under U-Line’s common policy at times since May 21, 2015.

      40.    At times since May 21, 2015, U-Line had a common practice of

deducting compensation from the last paychecks of Plaintiff Waits, the Collective




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Deduction Class, and the Wisconsin Deduction Class when Plaintiff Waits’, the

Collective Deduction Class’, and the Wisconsin Deduction Class’s employments at

U-Line were terminated or resigned in order to recoup the amount of PTO hours

used but unearned at the time of termination or resignation.

      41.     As a result of U-Line’s common practice of deducting compensation

from the last paychecks of Plaintiff Waits, the Collective Deduction Class, and the

Wisconsin Deduction Class to recoup PTO hours used but unearned, Plaintiff

Waits’, the Collective Deduction Class’, and the Wisconsin Deduction Class’s rates

of pay for such pay periods fell below the mandated minimum wage rates in

violation of the FLSA and Wisconsin law.

      42.    U-Line’s conduct, as set forth in this complaint, was willful and in bad

faith, and has caused significant damages to Plaintiff Waits, the Collective Classes,

and the Wisconsin Classes.

            COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA

      43.    Plaintiff Waits and the Collective Classes are and have been similarly

situated, have and have had substantially similar pay provisions, and are and have

been subject to U-Line’s decisions, policies, plans and programs, practices,

procedures, protocols, routines, and rules willfully failing and refusing to

compensate them for each hour worked including minimum wage and overtime

compensation. The claims of Plaintiff Waits as stated herein are the same as those

of the Collective Classes.




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      44.    Plaintiff Waits and the Collective Classes seek relief on a collective

basis challenging, among other FLSA violations, U-Line’s practices of rounding

employee work hours in a manner that causes such employees to be

undercompensated for all hours worked and recorded in U-Line’s timekeeping

system, failing to include non-discretionary bonuses in employees’ regular rates of

pay for purposes of calculating overtime compensation, and deducting PTO hours

used but not earned by employees that are terminated or resign their employments

in a manner that causes those employees hourly rates to fall below the statutory

minimum wage in the pay periods where such deductions are made.

      45.    The FLSA Section 216(b) Collective Classes’ members are readily

ascertainable. For purpose of notice and other reasons related to this action, their

names, phone numbers, and addresses are readily available from U-Line. Notice can

be provided to the Collective Classes via first class mail to the last address known to

U-Line and through posting at U-Line’s facility in areas where postings are

normally made.

                 RULE 23 CLASS ALLEGATIONS – WISCONSIN

      46.    Plaintiff Waits brings his Wisconsin state law claims, pursuant to

Wisconsin wage laws, under FED. R. CIV. P. 23 on behalf of the Wisconsin Classes

for violations occurring on or after May 21, 2016.

      47.    The proposed Wisconsin Classes’ members are so numerous that

joinder of all members is impracticable, and more importantly the disposition of

their claims as a class will benefit the Parties and the Court. Although the precise




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number of such persons is unknown, and the facts on which the calculation of that

number are presently within the sole control of U-Line, upon information and belief,

there are over 40 members in each of the proposed Wisconsin Classes.

      48.    Plaintiff Waits’ claims are typical of those claims that could be alleged

by any member of the Wisconsin Classes, and the relief sought is typical of the relief

that would be sought by each member of the Wisconsin Classes in separate actions.

The alleged claims arise out of the same corporate practice and/or policy of U-Line

and U-Line benefited from the same type of unfair and/or wrongful acts as to each

member of the respective Wisconsin Classes. Plaintiff Waits and the other members

of the Wisconsin Classes have sustained similar losses, injuries, and damages

arising from the same unlawful policies, practices, and procedures.

      49.    Plaintiff Waits is able to fairly and adequately protect the interests of

the Wisconsin Classes, has no interests antagonistic to the Wisconsin Classes, and

has retained counsel experienced in complex wage and hour class action litigation.

      50.    There are questions of fact and law common to the members of the

respective Wisconsin Classes that predominate over any questions affecting only

individual members. The questions of law and fact common to the respective

Wisconsin Classes’ members and arising from U-Line’s common actions include,

without limitation, the following:

      a) Whether U-Line’s practice of rounding employee start and end times
         violated Wisconsin’s wage laws;

      b) Whether U-Line’s failure to incorporate non-discretionary bonuses into its
         hourly employees regular rates of pay for determining overtime
         compensation violated Wisconsin’s wage laws;




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      c) Whether U-Line’s deduction of PTO time used but not earned from
         terminated or resigned employees violated Wisconsin’s wage laws; and

      d) The nature and extent of class-wide injury and the measure of damages
         for the injury.

      51.    A class action is superior to any other available methods for the fair

and efficient adjudication of these controversies, particularly in the context of wage

and hour litigation where individual plaintiffs lack the financial resources to

vigorously prosecute separate lawsuits in federal court against a corporate

defendant, particularly those plaintiffs with relatively small claims.

      52.    The questions set forth above predominate over any questions that

affect only individual persons, and a class action is superior with respect to

considerations of consistency, economy, efficiency, fairness, and equity, to other

available methods for the fair and efficient adjudication of the claims.

                             FIRST CLAIM FOR RELIEF
 Violations of the Fair Labor Standards Act – Unpaid Overtime Compensation and
                                   Minimum Wages
              (As to Plaintiff Waits and the Collective Rounding Class)

      53.    Plaintiff Waits, individually and on behalf of the Collective Rounding

Class, reasserts and incorporates by reference all preceding paragraphs as if

restated herein.

      54.    Since May 21, 2015, Plaintiff Waits and the Collective Rounding Class

have been entitled to the rights, protections, and benefits provided under the FLSA,

29 U.S.C. §201 et. seq.




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      55.    Since May 21, 2015, U-Line has been and continues to be an enterprise

engaged in commerce within the meaning of 29 U.S.C. §203(s)(1).

      56.    Since May 21, 2015, Plaintiff Waits and the members of the Collective

Rounding Class have been employees within the meaning of 29 U.S.C. § 203(e).

      57.    Since May 21, 2015, U-Line has been an employer of Plaintiff Waits

and the Collective Rounding Class as provided under 29 U.S.C. § 203(d).

      58.    Since May 21, 2015, U-Line has violated the FLSA by failing to pay

Plaintiff Waits and the Collective Rounding Class at the mandated minimum wage

rates for all hours worked in a workweek and/or at the mandated overtime rate for

all hours worked in excess of forty in a workweek as result of its common rounding

practices as described herein.

      59.    Plaintiff Waits and the Collective Rounding Class are entitled to

damages equal to mandated minimum wage rates and overtime premium pay for all

hours worked and rounded against their favor as a result of U-Line’s common

rounding practices within the three years prior to the filing of this Complaint, plus

periods of equitable tolling because U-Line acted willfully and knew or showed

reckless disregard for whether its conduct was prohibited by the FLSA.

      60.    U-Line’s failure to properly compensate Plaintiff Waits and the

Collective Rounding Class for all compensable work time was willfully perpetrated

and Plaintiff Waits and the Collective Rounding Class are therefore entitled to

recover an award of liquidated damages in an amount equal to the amount of




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unpaid minimum wage and overtime premium pay described above pursuant to

Section 216(b) of the FLSA, 29 U.S.C. § 216(b).

      61.    Alternatively, should the Court find that U-Line did not act willfully in

failing to pay minimum and overtime premium wages, Plaintiff Waits and the

Collective Rounding Class are entitled to an award of pre-judgment interest at the

applicable legal rate.

      62.    Pursuant to FLSA, 29 U.S.C. §216(b), successful Plaintiffs are entitled

to reimbursement of the costs and attorneys’ fees expended in successfully

prosecuting an action for unpaid minimum and overtime wages.

                           SECOND CLAIM FOR RELIEF
 Violations of the Fair Labor Standards Act – Unpaid Overtime Compensation and
                                   Minimum Wages
                (As to Plaintiff Waits and the Collective Bonus Class)

      63.    Plaintiff Waits, individually and on behalf of the Collective Bonus

Class, reasserts and incorporates by reference all preceding paragraphs as if

restated herein.

      64.    Since May 21, 2015, Plaintiff Waits and the Collective Bonus Class

have been entitled to the rights, protections, and benefits provided under the FLSA,

29 U.S.C. §201 et. seq.

      65.    Since May 21, 2015, U-Line has been and continues to be an enterprise

engaged in commerce within the meaning of 29 U.S.C. §203(s)(1).

      66.    Since May 21, 2015, Plaintiff Waits and the members of the Collective

Bonus Class have been employees within the meaning of 29 U.S.C. § 203(e).




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      67.    Since May 21, 2015, U-Line has been an employer of Plaintiff Waits

and the Collective Bonus Class as provided under 29 U.S.C. § 203(d).

      68.    Since May 21, 2015, U-Line has violated the FLSA by failing to pay

Plaintiff Waits and the Collective Bonus Class at the mandated overtime rate for all

hours worked in excess of forty in a workweek as result of its common practice of

failing to include non-discretionary bonuses in their regular rates of pay when

computing overtime wages owed.

      69.    Plaintiff Waits and the Collective Bonus Class are entitled to damages

equal to mandated overtime premium pay for all hours worked in excess of forty in

workweeks in which they also earned, at least partially, non-discretionary bonuses

as a result of U-Line’s common practices regarding such bonuses within the three

years prior to the filing of this Complaint, plus periods of equitable tolling because

U-Line acted willfully and knew or showed reckless disregard for whether its

conduct was prohibited by the FLSA.

      70.    U-Line’s failure to properly compensate Plaintiff Waits and the

Collective Bonus Class at the mandated overtime rates was willfully perpetrated

and Plaintiff Waits and the Collective Bonus Class are therefore entitled to recover

an award of liquidated damages in an amount equal to the amount of unpaid

overtime premium pay described above pursuant to Section 216(b) of the FLSA, 29

U.S.C. § 216(b).

      71.    Alternatively, should the Court find that U-Line did not act willfully in

failing to pay minimum and overtime premium wages, Plaintiff Waits and the




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Collective Bonus Class are entitled to an award of pre-judgment interest at the

applicable legal rate.

      72.    Pursuant to FLSA, 29 U.S.C. §216(b), successful Plaintiffs are entitled

to reimbursement of the costs and attorneys’ fees expended in successfully

prosecuting an action for unpaid minimum and overtime wages.

                            THIRD CLAIM FOR RELIEF
   Violations of the Fair Labor Standards Act – Unpaid Minimum Wages and/or
                                  Overtime Wages
             (As to Plaintiff Waits and the Collective Deduction Class)

      73.    Plaintiff Waits, individually and on behalf of the Collective Deduction

Class, reasserts and incorporates by reference all preceding paragraphs as if

restated herein.

      74.    Since May 21, 2015, Plaintiff Waits and the Collective Deduction Class

have been entitled to the rights, protections, and benefits provided under the FLSA,

29 U.S.C. §201 et. seq.

      75.    Since May 21, 2015, U-Line has been and continues to be an enterprise

engaged in commerce within the meaning of 29 U.S.C. §203(s)(1).

      76.    Since May 21, 2015, Plaintiff Waits and the members of the Collective

Deduction Class have been employees within the meaning of 29 U.S.C. § 203(e).

      77.    Since May 21, 2015, U-Line has been an employer of Plaintiff Waits

and the Collective Deduction Class as provided under 29 U.S.C. § 203(d).

      78.    Since May 21, 2015, U-Line has violated the FLSA by failing to pay

Plaintiff Waits and the Collective Rounding Class at the mandated minimum wage




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rates and/or overtime rates as result of its common practice of deducting used but

unearned PTO hours from their final paychecks as described herein.

      79.    Plaintiff Waits and the Collective Deduction Class are entitled to

damages equal to mandated minimum wage rates for all hours worked as a result of

U-Line’s common practice of deducting used but unearned PTO hours from their

final paychecks within the three years prior to the filing of this Complaint, plus

periods of equitable tolling because U-Line acted willfully and knew or showed

reckless disregard for whether its conduct was prohibited by the FLSA.

      80.    U-Line’s failure to properly compensate Plaintiff Waits and the

Collective Deduction Class at the required minimum wage rates and/or overtime

rates was willfully perpetrated and Plaintiff Waits and the Collective Deduction

Class are therefore entitled to recover an award of liquidated damages in an

amount equal to the amount of unpaid minimum wage and overtime premium pay

described above pursuant to Section 216(b) of the FLSA, 29 U.S.C. § 216(b).

      81.    Alternatively, should the Court find that U-Line did not act willfully in

failing to pay minimum and/or overtime wages described herein, Plaintiff Waits and

the Collective Deduction Class are entitled to an award of pre-judgment interest at

the applicable legal rate.

      82.    Pursuant to FLSA, 29 U.S.C. §216(b), successful Plaintiffs are entitled

to reimbursement of the costs and attorneys’ fees expended in successfully

prosecuting an action for unpaid minimum and overtime wages.

                         FOURTH CLAIM FOR RELIEF
Violation of Wisconsin Law – Unpaid Minimum, Overtime, and Agreed-Upon Wages




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              (As to Plaintiff Waits and the Wisconsin Rounding Class)

      83.     Plaintiff Waits, individually and on behalf of the Wisconsin Rounding

Class, re-alleges and incorporates by reference all preceding paragraphs as restated

herein.

      84.     Since May 21, 2016, Plaintiff Waits and the Wisconsin Rounding Class

were employees within the meaning of Wis. Stat. §§ 109.01 et seq.

      85.     Since May 21, 2016, Plaintiff Waits and the Wisconsin Rounding Class

were employees within the meaning of Wis. Stat. §§ 103.001 et seq.

      86.     Since May 21, 2016, Plaintiff Waits and the Wisconsin Rounding Class

were employees within the meaning of Wis. Stat. §§ 104.01 et seq.

      87.     Since May 21, 2016, Plaintiff Waits and the Wisconsin Rounding Class

were employees within the meaning of Wis. Admin. Code §§ DWD 272.001 et seq.

      88.     Since May 21, 2016, Plaintiff Waits and the Wisconsin Rounding Class

were employees within the meaning of Wis. Admin. Code §§ DWD 274.01 et seq.

      89.     Since May 21, 2016, U-Line was an employer within the meaning of

Wis. Stat. §§ 109.01 et seq.

      90.     Since May 21, 2016, U-Line was an employer within the meaning of

Wis. Stat. §§ 103.001 et seq.

      91.     Since May 21, 2016, U-Line was an employer within the meaning of

Wis. Stat. §§ 104.01 et seq.

      92.     Since May 21, 2016, U-Line was an employer within the meaning of

Wis. Admin. Code §§ DWD 272.001 et seq.




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      93.    Since May 21, 2016, U-Line was an employer within the meaning of

Wis. Admin. Code §§ DWD 274.01 et seq.

      94.    Since May 21, 2016, U-Line has employed, and/or continues to employ

Plaintiff Waits and the Wisconsin Rounding Class within the meaning of Wis. Stat.

§§ 109.01 et seq.

      95.    Since May 21, 2016, U-Line has employed, and/or continues to employ

Plaintiff Waits and the Wisconsin Rounding Class within the meaning of Wis. Stat.

§§ 103.001 et seq.

      96.    Since May 21, 2016, U-Line has employed, and/or continues to employ

Plaintiff Waits and the Wisconsin Rounding Class within the meaning of Wis. Stat.

§§ 104.01 et seq.

      97.    Since May 21, 2016, U-Line has employed, and/or continues to employ

Plaintiff Waits and the Wisconsin Rounding Class within the meaning of Wis.

Admin. Code §§ DWD 272.001 et seq.

      98.    Since May 21, 2016, U-Line has employed, and/or continues to employ

Plaintiff Waits and the Wisconsin Rounding Class within the meaning of Wis.

Admin. Code §§ DWD 274.01 et seq.

      99.    Since May 21, 2016, Plaintiff Waits and the Wisconsin Rounding Class

regularly performed activities that were an integral and indispensable part of the

employees’ principal activities without receiving compensation for these activities as

a result of U-Line’s rounding practices as described herein.




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      100.    Since May 21, 2016, U-Line had, and continues to have, common

policies, programs, practices, procedures, protocols, routines, and rules of willfully

failing to properly pay the Wisconsin Rounding Class minimum, overtime, and/or

agreed-upon wages for all hours worked as a result of its illegal rounding practices

as described herein.

      101.    Wis. Stat. §109.03 requires payment of all wages earned by the

employee to a day not more than 31 days prior to the date of payment.

      102.    The foregoing conduct, as alleged above, constitutes continuing, willful

violations of Wisconsin’s law requiring the payment of minimum, overtime, and

agreed upon wages.

      103.    As set forth above, Plaintiff Waits and the Wisconsin Rounding Class

have sustained losses in their compensation as a proximate result of U-Line’s

violations incurred due to its rounding practices. Accordingly, Plaintiff Waits,

individually and on behalf of the Wisconsin Rounding Class, seeks damages in the

amount of their respective unpaid compensation, injunctive relief requiring U-Line

to cease and desist from its violations of the Wisconsin laws described herein and to

comply with them, and such other legal and equitable relief as the Court deems just

and proper.

      104.    Under Wis. Stat. §109.11, Plaintiff Waits and the Wisconsin Rounding

Class are be entitled to civil penalties equal and up to fifty percent of their unpaid

wages.




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      105.    Plaintiff Waits, individually and on behalf of the Wisconsin Rounding

Class, seeks recovery of his reasonable attorneys’ fees and costs incurred in this

action to be paid by U-Line, pursuant to the Wisconsin law.

                             FIFTH CLAIM FOR RELIEF
                Violation of Wisconsin Law – Unpaid Overtime Wages
                (As to Plaintiff Waits and the Wisconsin Bonus Class)

      106.    Plaintiff Waits, individually and on behalf of the Wisconsin Bonus

Class, re-alleges and incorporates by reference all preceding paragraphs as restated

herein.

      107.    Since May 21, 2016, Plaintiff Waits and the Wisconsin Bonus Class

were employees within the meaning of Wis. Stat. §§ 109.01 et seq.

      108.    Since May 21, 2016, Plaintiff Waits and the Wisconsin Bonus Class

were employees within the meaning of Wis. Stat. §§ 103.001 et seq.

      109.    Since May 21, 2016, Plaintiff Waits and the Wisconsin Bonus Class

were employees within the meaning of Wis. Stat. §§ 104.01 et seq.

      110.    Since May 21, 2016, Plaintiff Waits and the Wisconsin Bonus Class

were employees within the meaning of Wis. Admin. Code §§ DWD 272.001 et seq.

      111.    Since May 21, 2016, Plaintiff Waits and the Wisconsin Bonus Class

were employees within the meaning of Wis. Admin. Code §§ DWD 274.01 et seq.

      112.    Since May 21, 2016, U-Line was an employer within the meaning of

Wis. Stat. §§ 109.01 et seq.

      113.    Since May 21, 2016, U-Line was an employer within the meaning of

Wis. Stat. §§ 103.001 et seq.




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      114.   Since May 21, 2016, U-Line was an employer within the meaning of

Wis. Stat. §§ 104.01 et seq.

      115.   Since May 21, 2016, U-Line was an employer within the meaning of

Wis. Admin. Code §§ DWD 272.001 et seq.

      116.   Since May 21, 2016, U-Line was an employer within the meaning of

Wis. Admin. Code §§ DWD 274.01 et seq.

      117.   Since May 21, 2016, U-Line has employed, and/or continues to employ

Plaintiff Waits and the Wisconsin Bonus Class within the meaning of Wis. Stat. §§

109.01 et seq.

      118.   Since May 21, 2016, U-Line has employed, and/or continues to employ

Plaintiff Waits and the Wisconsin Bonus Class within the meaning of Wis. Stat. §§

103.001 et seq.

      119.   Since May 21, 2016, U-Line has employed, and/or continues to employ

Plaintiff Waits and the Wisconsin Bonus Class within the meaning of Wis. Stat. §§

104.01 et seq.

      120.   Since May 21, 2016, U-Line has employed, and/or continues to employ

Plaintiff Waits and the Wisconsin Bonus Class within the meaning of Wis. Admin.

Code §§ DWD 272.001 et seq.

      121.   Since May 21, 2016, U-Line has employed, and/or continues to employ

Plaintiff Waits and the Wisconsin Bonus Class within the meaning of Wis. Admin.

Code §§ DWD 274.01 et seq.




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      122.   Since May 21, 2016, Plaintiff Waits and the Wisconsin Bonus Class

were deprived of overtime compensation due under Wisconsin law as a result of U-

Line’s failure to include non-discretionary bonuses in their regular rates of pay

when calculating overtime pay as described herein.

      123.   Since May 21, 2016, U-Line had, and continues to have, common

policies, programs, practices, procedures, protocols, routines, and rules of willfully

failing to properly pay the Wisconsin Bonus Class wages for all hours worked as a

result of its failure to include non-discretionary bonuses in their regular rates of pay

as described herein.

      124.   Wis. Stat. §109.03 requires payment of all wages earned by the

employee to a day not more than 31 days prior to the date of payment.

      125.   The foregoing conduct, as alleged above, constitutes continuing, willful

violations of Wisconsin’s law requiring the payment of overtime wages.

      126.   As set forth above, Plaintiff Waits and the Wisconsin Bonus Class have

sustained losses in their compensation as a proximate result of U-Line’s violations

incurred due to its failure to include non-discretionary bonuses in their regular

rates of pay. Accordingly, Plaintiff Waits, individually and on behalf of the

Wisconsin Bonus Class, seeks damages in the amount of their respective unpaid

compensation, injunctive relief requiring U-Line to cease and desist from its

violations of the Wisconsin laws described herein and to comply with them, and

such other legal and equitable relief as the Court deems just and proper.




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      127.    Under Wis. Stat. §109.11, Plaintiff Waits and the Wisconsin Bonus

Class are be entitled to civil penalties equal and up to fifty percent of their unpaid

wages.

      128.    Plaintiff Waits, individually and on behalf of the Wisconsin Bonus

Class, seeks recovery of his reasonable attorneys’ fees and costs incurred in this

action to be paid by U-Line, pursuant to the Wisconsin law.

                            SIXTH CLAIM FOR RELIEF
Violation of Wisconsin Law – Unpaid Minimum, Overtime, and Agreed-Upon Wages
             (As to Plaintiff Waits and the Wisconsin Deduction Class)

      129.    Plaintiff Waits, individually and on behalf of the Wisconsin Deduction

Class, re-alleges and incorporates by reference all preceding paragraphs as restated

herein.

      130.    Since May 21, 2016, Plaintiff Waits and the Wisconsin Deduction Class

were employees within the meaning of Wis. Stat. §§ 109.01 et seq.

      131.    Since May 21, 2016, Plaintiff Waits and the Wisconsin Deduction Class

were employees within the meaning of Wis. Stat. §§ 103.001 et seq.

      132.    Since May 21, 2016, Plaintiff Waits and the Wisconsin Deduction Class

were employees within the meaning of Wis. Stat. §§ 104.01 et seq.

      133.    Since May 21, 2016, Plaintiff Waits and the Wisconsin Deduction Class

were employees within the meaning of Wis. Admin. Code §§ DWD 272.001 et seq.

      134.    Since May 21, 2016, Plaintiff Waits and the Wisconsin Deduction Class

were employees within the meaning of Wis. Admin. Code §§ DWD 274.01 et seq.




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      135.   Since May 21, 2016, U-Line was an employer within the meaning of

Wis. Stat. §§ 109.01 et seq.

      136.   Since May 21, 2016, U-Line was an employer within the meaning of

Wis. Stat. §§ 103.001 et seq.

      137.   Since May 21, 2016, U-Line was an employer within the meaning of

Wis. Stat. §§ 104.01 et seq.

      138.   Since May 21, 2016, U-Line was an employer within the meaning of

Wis. Admin. Code §§ DWD 272.001 et seq.

      139.   Since May 21, 2016, U-Line was an employer within the meaning of

Wis. Admin. Code §§ DWD 274.01 et seq.

      140.   Since May 21, 2016, U-Line has employed, and/or continues to employ

Plaintiff Waits and the Wisconsin Deduction Class within the meaning of Wis. Stat.

§§ 109.01 et seq.

      141.   Since May 21, 2016, U-Line has employed, and/or continues to employ

Plaintiff Waits and the Wisconsin Deduction Class within the meaning of Wis. Stat.

§§ 103.001 et seq.

      142.   Since May 21, 2016, U-Line has employed, and/or continues to employ

Plaintiff Waits and the Wisconsin Deduction Class within the meaning of Wis. Stat.

§§ 104.01 et seq.

      143.   Since May 21, 2016, U-Line has employed, and/or continues to employ

Plaintiff Waits and the Wisconsin Deduction Class within the meaning of Wis.

Admin. Code §§ DWD 272.001 et seq.




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      144.   Since May 21, 2016, U-Line has employed, and/or continues to employ

Plaintiff Waits and the Wisconsin Deduction Class within the meaning of Wis.

Admin. Code §§ DWD 274.01 et seq.

      145.   Since May 21, 2016, Plaintiff Waits and the Wisconsin Deduction Class

were deprived of minimum wage, overtime, and/or agreed-upon wage compensation

due under Wisconsin law as a result of U-Line’s deduction of PTO hours used from

their final paychecks.

      146.   Since May 21, 2016, U-Line had, and continues to have, common

policies, programs, practices, procedures, protocols, routines, and rules of willfully

failing to properly pay the Wisconsin Deduction Class wages for all hours worked as

a result of its deduction of PTO hours used from their final paychecks.

      147.   Wis. Stat. §109.03 requires payment of all wages earned by the

employee to a day not more than 31 days prior to the date of payment.

      148.   The foregoing conduct, as alleged above, constitutes continuing, willful

violations of Wisconsin’s law requiring the payment of overtime wages.

      149.   As set forth above, Plaintiff Waits and the Wisconsin Deduction Class

have sustained losses in their compensation as a proximate result of U-Line’s

violations incurred due to its deduction of PTO hours used from their final

paychecks. Accordingly, Plaintiff Waits, individually and on behalf of the Wisconsin

Deduction Class, seeks damages in the amount of their respective unpaid

compensation, injunctive relief requiring U-Line to cease and desist from its




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violations of the Wisconsin laws described herein and to comply with them, and

such other legal and equitable relief as the Court deems just and proper.

       150.   Under Wis. Stat. §109.11, Plaintiff Waits and the Wisconsin Deduction

Class are be entitled to civil penalties equal and up to fifty percent of their unpaid

wages.

       151.   Plaintiff Waits, individually and on behalf of the Wisconsin Deduction

Class, seeks recovery of his reasonable attorneys’ fees and costs incurred in this

action to be paid by U-Line, pursuant to the Wisconsin law.

                                REQUEST FOR RELIEF

       WHEREFORE, Plaintiff Waits, individually and on behalf of all members of

the Collective Classes and Wisconsin Classes, hereby respectfully requests the

following relief:

         a) At the earliest time possible, an order designating this action as a
            collective action on behalf of the Collective Classes and allowing issuance
            of notices pursuant to 29 U.S.C. §216(b) to all similarly-situated
            individuals;

         b) At the earliest time possible, an order certifying this action as a FED. R.
            CIV. P. 23 class action on behalf of the proposed Wisconsin Classes;

         c) At the earliest time possible, an Order appointing Hawks Quindel, S.C. as
            class counsel pursuant to FED. R. CIV. P. 23;

         d) An order designating Plaintiff Michael Waits as the Named Plaintiff and
            as representative of the Wisconsin Classes as set forth herein;

         e) Leave to add additional Plaintiffs by motion, the filing of written consent
            forms, or any other method approved by the Court;

         f) Issuance of an Order, pursuant to the Declaratory Judgment Act, 28
            U.S.C. §§2201-2202, declaring U-Line’s actions as described in the




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         Complaint as unlawful and in violation of Wisconsin Law and its
         applicable regulations;

       g) An Order finding that U-Line violated the FLSA and Wisconsin wage and
          hour laws;

       h) An Order finding that these violations are willful, dilatory, and/or unjust;

       i) Judgement against U-Line in the amount equal to the Plaintiff’s, the
          Collective Classes’, and the Wisconsin Classes’ unpaid wages at the
          applicable minimum wage, agreed-upon wage, and overtime premium
          rates as provided for under the FLSA and/or Wisconsin law;

       j) An award to Plaintiff Waits, the Collective Classes, and the Wisconsin
          Classes in the amount of all liquidated damages and civil penalties as
          provided for under Wisconsin Law and the FLSA;

       k) An award in the amount of all costs and attorney’s fees incurred
          prosecuting these claims as well as pre-judgment and post-judgement
          interest; and

       l) Such further relief as the Court deems just and equitable.


Dated this 21st day of May, 2018.

                                       Respectfully submitted,

                                       HAWKS QUINDEL S.C.



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